Case 6:17-01-06016-C.JS-JWF Document 52 Filed 07/02/18 Page 1 of 7

Professor Roy D. Sirnon

Distinguishecl Professor of Legnl Ethics Emeritus
205 \Y’est End Avenue - Suite SN
Ne\v York, Ne\v York 10023

Licensed to Practice Law in New York
Phone: (607) 342-0840 E-mail: Bq; ',"imon a [;]111`§11;,'1,§§|11

_]une 21_, 2018

Anne M. Burger, Esq.

Assistant Federal Puhlic Defender

Federal Puhlic Defender's Oflice \VDNY
28 E. Main Street. Suite 400

Rochester, New York l ~Hi 14

Re: Con{lict Analvsis
Dear 1\Is. Burger:

./\t the request ofthe Honorahle C`l1a1'lesJ.Si1ag11sa United States Disnict ]udge f`ox the \\'esteln
Distn`ct of .\Iew Y o1k v'oui oil`lce has retained me to anal_\ ze a conflict of`inte1est that 1s c1111e11tl\
before _]udge Sixagusa. This lette1 contains mv analv sis. l am 1endel1ngr m\ se1\1ce§ pxo hono
without any cha1 ge

F actual Backggound

Your office has already sought and received an informal 11'.1’.. unpublishech opinion i`rom the (Iha.ir
of the New ’ork State Bar ;\.§sociation Committee on Proi`e.§sional Ethics. clateclJ1111e (i, ‘2()18. il
have served on that committee continuously f`or the past t\\'ent'_\'-three vears. hut l had no involvement
\\that§oever in writing the informal opinion to your oflice.) I will assume the truth of the same facts
that the ethics committee used a§ the basis f`or its opinion. Tl1e ethics committee unde1stood those
f`acts to he a.§ follows:

The Federal Puhlic Defender`s Oflice for the \\"estern District of Ne\x Yolk in Rochestel
(the` Rochestel FPD` ) leplesents C`lient A 111 defense ofiohhel*\ /muldel cha1ge.§ pending
in the U. S. Distn`ct Couxt. \\hile another office of the same Fede1al Puhlic Deiender s
Oi`fice located 111 Buflalo 1the "Buflalo FPD") 11"eplesent§ Client B 111 a habeas ploceeding
pending 111 the U. S. Couxt of \) Jeals fot the Second C` ncuit The matters a1e unielated
to each othel. * ' ` ` ’ h

 

 

Case 6:17-01-06016-C.JS-JWF Document 52 Filed 07/02/18 Page 2 of 7

I\D

Anne NI. Burger, Esq.
June 21, 2018

Your email explains that the physical files for the two cases are kept in different oflices; that
the Rochester FPD has never met Client B, nor reviewed his physical or electronic file; and
that the Bufl`alo FPD has never met Client A, nor reviewed his physical or electronic file.

Y ou say that, if the Court permits this conflict to be waived, and both clients are willing to
waive it, the Buffalo FPD would seek to withdraw from its representation of Client B to
eliminate the ongoing conflict. If this motion were granted, the Buffalo FPD would create
a “screen” between Client A’s attorneys (and other staff members working 011 his case) and
any information obtained by virtue of Client B’s representation by the Buffalo FPD.

I add two additional facts. One additional fact is that both Client A and Client B were represented
and advised by so-called Cu)'cz'o counsel, who are independent lawyers, unaffiliated with your office,
advising Client A and Client B solely 011 the conflict of interest questions addressed in this letter.
After receiving advice from Cu)'cz`o counsel, Client A and Client B each personally appeared before
the Court, on the record, with Cu)'cz`o counsel, and each executed a signed waiver of the conflict.
The other additional fact is that Buffalo FPD has obtained Client B’s informed consent to withdraw
from representing him on his appeal to the Second Circuit, and Buffalo FPD has in fact filed a
motion in the Second Circuit to withdraw. (That motion remains pending.)

M;LOualifications as an Expert on Professional Conduct

This section summarizes my qualifications as an expert in the field of legal ethics and professional
responsibility (My current curriculum vitae is attached to this letter.)

l was the Howard Lichtenstein Distinguished Professor of Legal Ethics at Hofstra University
School of Law from 2003 until l resigned from my position at Hofstra effective September 1, 201 1.
l am admitted to practice law and am an active member of the Bar in New York in good standing
I frequently advise lawyers in New York and elsewhere regarding issues of professional conduct,
conflicts of interest, legal malpractice, fiducialy duties, and related issues. l sometimes serve as an
expert consultant and expert witness regarding those issues.

l received my Bachelor of Arts degree cum laude in 1973 from \/Villiams College in \'Villiamstown,
1\/fassac11usetts. l received my J.D. in 1977 from New York University School of Law, where I
served as Editor-in-Chief of the New York University Law Review. After graduating from law
school, I clerked for the Hon. Robert R. Merhige,_]r. in the United States District Court for the
Eastern District of Virginia for one year, then practiced law for five years in Chicago before
becoming a full-time law professor.

Since 1986 1 have devoted virtually all of my scholarly time and effort to the field of professional
responsibility (often called “legal ethics”). I am the author or co-author of three books on legal
ethics, including:

o SIMoN’s NEW YORK RULES or PRoFEssIoN/\L CoNDUc:T ANNoT./\TED (Thomson
Reuters \'Vestlaw) (nineteen editions since 1995). The 2017 edition was published in
_]une 2017, with co-author Nicole Hyland.

 

Case 6:17-01-06016-CJS-.]WF Document 52 Filed O7/O2/18 Page 3 of 7

Anne M. Burger, Esq. 3
_]une 21, 2018

o REGULATION or LAWYERS: STATUTES AND S'r/\Nl)/\Rl)s (m`th two other protessors)
(\'Volters Kluwer) (t\'venty-nine editions since 1989). The. 2018 edition was published
in December 2016.

o LA\\'YERS AND r1‘1~113 LEGAL PRoFEssloN: CASES AND 1\/[1\"1‘131111\_1,§ (LexisNexis, 1111 ed.
2009) (two editions since 1995). (l am the lead author; two other professors joined in
1998 as co-authors).

From April 1998 through November 201 1, l published an article virtually eveiy month (_more than
160 articles in total) in the New York Professional Responsibility Report, a monthly newsletter with
articles of interest to lawyers who practice in New York. (The newsletter ceased publication shortly
after the publisher"s death in November 2011.) Since about 1991, l have published a column
entitled “Developments in the Regulation of Lawyers” each spring and/ or fall in the newsletter of
the Professional Responsibility Section of the Association of American Law Schools (“AALS"), a
publication circulated primarily to other law professors who teach professional responsibility
courses.

l was a full-time professor in the law school at Washington University in St. Louis for nine years,
from 1983 to 1992, receiving tenure in 1989. l joined the faculty of Hofstra University School of
Law with tenure in 1992. l" rom 1985 through 2009, l taught a law school course in professional
responsibility for lawyers at least once each year ( a total of about thirty-five times). l resigned from
Hofstra in 2011 and now concentrate fully 011 studying, \\vriting about, and consulting about
professional responsibility for lawyers.

I spend a substantial amount of time in bar association activities relating to legal ethics in New
York State. My present and past positions include:

0 Co-Chair (since 2017), Chair (2014-2017), Chief Reporter (since 2003), and member
(since 2000) of the New York State Bar Association’s Committee 011 Standards of
Attorney Conduct (“COSAC”), which monitors and proposes changes to the New
York Rules of Professional Conduct and other provisions regulating New York
lawyers.

0 Member (_1995-present) and fortner Chair (2008-2011) of the New York State Bar
Association Committee 011 Professional Ethics. 111 Janual“y 2015, the Committee
presented me with the Sanford P. Levy Award to recognize a lifetime of achievement
for publications in the field of legal ethics.

0 Member (1993-2012) and former Chair (1996-1998) of the Nassau County Bar
Association Prof`essional Ethics Committee.

9 Member (2005-2008) of the New York City Bar Committee 011 Professional
Responsibility.

0 Member (2002-2005 and 2012-2015) of the New York City Bar Committee on
Professional a11clJ11dicial Ethics.

0 Member (1995-1998) of the New York City Bar Committee 011 Professional Discipline.

0 Member (2005-2006) of the New York City Bar’s Task Force 011 the Role of the
Lawyer in Corporate Governance (a special task force that has completed its work).

 

Case 6:17-01-06016-CJS-.]WF Document 52 Filed O7/O2/18 Page 4 of 7

Anne l\f. Burger, Esq. 11
_]une 21, 2018

A.na.lvsis and Opinions

The fact that the office of`the Federal Public Defender \\’.D..\I.Y. simultaneously represents both
Client A and Client B creates a conflict ofinterest within the meaning of Rule 1.7;a)1_ 1 1 of the .\lew'
York Rules of Professional C`onduct 1;tl1e "Rules"`). because representing both C`lient ~\ and Client
B inv oly es the Federal Pubhc Def`endei \\ .D. N. Y. in re resenting "diflering i11te1ests.`

         

n awyet lepiesenting ,
and vice versa and under Rule l. lflta) each lawyer s conflict 1s imputed to the entile Fl)D 111 the
\\"estern District ofNew Y olk. including both the Rochestel FPD and the Buffalo FPD.

However, under Rule 1.7111), a lawyer may represent a client despite a conflict of interest under
paragraph (a) if (l) "the lawyer reasonably believes that the lawyer will be able to provide
competent and diligent representation to each affected client" and 121 "each affected client gives
informed consent, confirmed in w'n`ting." l will address these criten`a one at a time.

A. Rule 1.7§b1(1): Providin<r: Competent and Diligent Regresentation

The initial question is whether the lawyers at Rochester FPD who are representing Client .»\ ca11
"reasonably believe[]" that theyc can "provide competent and diligent representation" to ("lient \
despite Buffalo FPD` s concurrent 1ep1ese11tation of C` lient B in the Second CI"lctlit. 111 mv

     

…1111 e"su' fnm" see 1{ule1. 0 1111 fdefining "law firin" to
include "a government law office"). the Rochester FPD has nev er met 01 communicated with
Client B, so the lawyers at Rochester FPD have 110 emotional connection to Client B and do not
possess any of his confidential information. Third. Client A and Client B are represented by lawyers
in separate physical offices. so Client .'\'s lawyers do not have to see (Ilient B`s lawyers on a daily
basis at work. Fourth. Client B`s habeas corpus matter pending in the Second Circuit is factually
unrelated to Client`s A"s criminal charges` so advancing C`lient .\`s defenses is unlikely to impede
or undermine Client B`s ca§e factually or legally. Thus in my opinion the lawyers at Rocheste1
FPD ca11 leasonabl ’ believe that they ca11 7 7 7

 

The related question is whether the lawyers at Buffalo FPD who are representing Client B can
"rea,§onably believe[]" that they ca11 "provide competent and diligent representation" to (`}lient B
in his habeas matter despite Rochester FPD`s concurrent representation of(llient ;\. ()fcourse, if
the Second Circuit permits the lawyers for Client B to withdraw from representing him. then the
conflict will evaporate and it will be unnecessary to address whether they could competently and
diligently represent Client B. But in any case, in my opinion they ca11 reasonably believe that they
ca11 provide competent and diligent representation. because Rochester FPD has 110 plan 1)r reason
to challenge or interfere with Client B`s habeas matter, which is unrelated to Client .-\`s criminal

 

Case 6:17-er-06016-C.]S-.]WF Doeument 52 Filed 07/02/18 Page 5 of 7

Anne 1\/1. Bur ger, Esq. 5
June 21, 2018

case. Thus, even if the motion to withdraw were for some reason to be deniecl, I see 110 reason that
the lawyel at Buffalo l"PD would suffei an adve1se impact 011 his or he1 com etence 01 diligence

 

B. Rule 1.7 b 4 : Obtainin lfnformed Consent

The next question is whether the lawyers at Rochester FPD and Buffalo l"PD have obtained
informed consent to the conflict. In my professional opinion, they have. Rule l.ij) defines
“informed consent" as follows:

“Informecl consent” means a11 agreement by a person to a proposed course of conduct after
the lawyer has communicated information adequate for the person to make an informed
decision, and after the lawyer has adequately explained to the person the matelial risks of
the proposed course of action and reasonably available alternatives

Client A and Client B have each been advised by Cum`u counsel, have appeared before the Court
with their (.'u)‘cl.`() counsel for allocution, and have already consented in writing to the conflict
pursuant to P\ule 1.7111)(4»). 'l`he content of the communication necessaiy to obtain informed
consent varies from case to case, but here the representation by independent Czu'cz`o counsel and
Judge Siragusa"s allocution of Client A and Client B ensure that each client"s consent is indeed
"informed"" within the meaning of Rule 1.7(11)(_4). fn addition, the Court`s allocution ensures that
the consent is “i11f01`n1ecl” because the aim of the allocution is to ensure that each client`s consent
meets the Sixth Amendment’s requirement of a knowing and volunta1y waiver.

Pursuant to Rule 1.7(11)(}11, the lawyers for Client A and Client B have also confirmed their Clients’
consent in writing by securing an executed letter confirming consent and by putting their consent
011 the record before _]udge Siragusa. Both methods satisfy the requirement that consent to a
conflict be "confirmed in writing" see Rule l.O(e) (defining "confirmed in writing" to include
both a writing from the person to the lawyer confirming consent, and a statement by the person
made 011 the record in a proceeding before a tribunal).

To repeat, if Buffalo FPD is permitted to withdraw from continuing to represent Client B, then the
entire “dif`fering interests" conflict under Rule l.7(a)('l) will e\'aporate. And 110 conflict will arise
under Rule l.Q(a), which prohibits a lawyer from representing a client whose interests are
“materially adverse"" to a former client that the lawyer has previously represented in the same or a
substantially related matter, because Client A`s criminal matter is not substantially related to Client
B’s habeas matter. Thus, Rule l.Q(a) will not be implicated if Buffalo FPD withdraws from
representing Client B.

C. Rule 1.10(d1: Non-Consentability lfs Not Iml;uted

A related question is whether different lawyers in the same law firm may ethically represent
conflicting clients if the conflict would be non-consentable for one lawyer alone. 111 other words, if
an individual lawyer could not simultaneously represent both Client A and Client B in these
circumstances, may different lawyers from the firm simultaneously represent those elients?

 

Case 6:17-cr-06016-C.]S-.]WF Document 52 Filed 07/02/18 Page 6 of 7

Anne f\/f. Burger, Esq. 6
_]une 21, 2018

 

Rule l.7(b)(3) addresses conflicts that arise among parties to the same proceeding lt provides that
a lawyer may represent a client despite a concurrent conflict of interest if, among other things, “(3)
the representation does not involve the assertion of a claim by one client against another client
represented by the lawyer in the same litigation or other proceeding before a tribunal." Thus, a
lawyer may not represent two clients in the same proceeding before a tribunal if one of the clients
is asserting claims against the other client (_such as a cross-claim by one defendant against another
defendant). Under Rule l.7(b)(3), such a conflict would be non-consentable ls that sufficiently
like the situation before the Court so that the conflict here is also non~consentable? In my opinion,
the conflict here different teams of lawyers in different offices the same firm representing
conflicting clients in different proceedings in different courts is not like the conflict prohibited by
Rule l.7(b)(3). The conflict here is consentable

However, in the Annotations to Rule l.7(b)(3) in the most recent edition of my treatise, Roy D.
Simon & Nicole Hyland, SiMoN’s NEW YoRK RULEs oF PRoFEssIoNAL CoNDUc:T ANNoTATED
(Thomson Reuters, 19 h ed. 2017), the following passage appears at p. 41'l2:

Because criminal defendants cannot file counterclaims against the People in the
same proceeding, and because co-defendants who are being tried together in a criminal
matter cannot file formal cross-claims against each other, Rule l.7(b)(3) has no application
in criminal cases. But a lawyer who attempted to represent codefendants who
were blaming each other (or where either one was blaming another client of
the same lawyer) would have a severe conflict that would probably be non-
consentable under Rule 1.7(b)(1). A lawyer must satisfy ev€)_”i' provision of Rule l.7(b)
for a conflict to be consentable, not just one provision. [Bold emphasis added.]

l" or three reasons, l do not think that this passage renders the conflict here non-consentable under
Rule l.7(b)(_ l) (the provision regarding competent and diligent representation).

3

First, my book talks about a “lawyer,’ not about a law firm. The conflict might well be non~
consentable if the same lawyer were representing Client A at trial and Client B in the Second
Circuit, but that is not the case. Client A’s team of lawyers is different from Client B’s team of
lawyers, and no lawyer is common to both teams. The teams are entirely separate.

Second, the passage quoted from my book says the conflict would "probably"’ be non-consentable,
not definitely. l\/Iy intent is to explain that such a conflict would “usually” be non-consentable,
which is more accurate than “probably.” Since this is not the usual situation this is not one lawyer
in one case blaming one client while representing another client the non-consentability should
not be imputed to the firm. lnformed consent by each client thus avoids imputation and cures the
conflict

Third, even if one lawyer in a firm has a non-consentable conflict, Rule l.lO(d) allows a client to
consent to another lawyer in the firm to handle the matter if that other lawyer can meet the tests
under Rule l.7(b)(l). Rule l.lO(d) states:

(d) A disqualification prescribed by this Rule may be waived by the affected client
or former client under the conditions stated in Rule l.7.

 

Case 6:17-cr-06016-C.]S-.]WF Document 52 Filed 07/02/18 Page 7 of 7

Anne M. Burger, Esq. 7
`]une 21, 2018

ln my opinion, each team of lawyers can meet the tests of Rule l.7(b)(l), so each client (Client A
and Client B) has the right to waive the imputation of the conflict even if the underlying conflict
would be non-consentable for a single lawyer. This is the import of the well~reasoned opinion in
N.Y. State 975 (2013). ln Opinion 975, the Comniittee noted that Rule l.7(b)(_3) categorically
prohibits waiver of a conflict when a single lawyer represents both sides in the same matter. But
“such unwaivability is not imputed by Rule l.lO(a)."` Opinion 975 went on to say:

18. The conflict will not be waivable unless the lawyers on both sides of the
litigation each reasonably believe that they can “provide competent and diligent
representation” to their respective clients. Rule l.7(b)(_l). ff the lawyers work in
separate oMces rather than in a common location, have little interaction, and
do not share files, it may be more likely that both lawyers could reasonably
form that belief. But each such conflict would have to be evaluated on its own facts and
circumstances [Emphasis added.]

Opinion 975 thus recognized that while a ro)ylz`rl is imputed throughout the firm, the mm
co)zse)ztabz`lz`ty is not necessarily imputed, especially where lawyers work in separate offices, have
limited interaction, and do not share files. Here, the “facts and circumstances"’ are that the
conflicting clients are represented by separate teams, working in separate offices, litigating in
different courts, and maintaining separate files that they do not share with each other. fn addition,
Client A’s matter is unrelated to Client B’s matter. In my opinion, therefore, the fact that the
conflict here would be non-consentable for a single individual attorney does not make the conflict
non-consentable for the firm as a whole, and the conflict here is waivable (1'.0., consentable) if the
clients give informed consent, as they have each done in writing after being advised by their own
independent counsel.

C onclusion

fn my professional opinion, in the unusual circumstances before the Court, the conflict here is
consentable. If the you or the Court would like me to follow up on this opinion, l will be happy to
do so.

Sincerely,

 

Roy D. Simon
Legal Ethics Advisor to Law Firms
Distinguished Prof`essor of Legal Ethics Emeritus

 

